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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                              CASE NO. Cr. 2:13-cr-0006 MCE
12                                 Plaintiff,             STIPULATION REGARDING
                                                          EXCLUDABLE TIME PERIODS
13 v.                                                     UNDER SPEEDY TRIAL ACT;
                                                          FINDINGS AND ORDER
14 JIT KAUR, et al.,

15                                 Defendants.
16

17                                               STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendants, by
19
     and through their counsel of record, hereby stipulate as follows:
20
            1.       The Court previously set this matter on March 7, 2013.
21
            2.       By this stipulation, defendants now move to continue the status conference until April
22
23 11, 2013 and to exclude time between March 7, 2013 and April 11, 2013 under Local Code T4.

24 Plaintiff does not oppose this request.

25          3.       The parties agree and stipulate, and request that the Court find the following:
26          a.       The government has produced over 7,000 pages of discovery to date, which includes
27
     FBI-302s, interview memoranda, the search warrants and affidavit, redacted transcripts of recorded
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                 Case 2:13-cr-00006-MCE Document 84 Filed 03/11/13 Page 2 of 4


     conversations and telephone calls, business records from the Employment Development Department,
 1
     and deposition transcripts from the prior civil case. The government has also made available for
 2

 3 inspection and copying at the FBI evidence seized pursuant to the search warrants and business

 4 records that were subpoenaed from various banks. Finally, the government has made available for

 5 inspection and copying additional business records from the Employment Development Department.

 6
     These records are voluminous.
 7
            b.       Counsel for defendants desire additional time to review and copy discovery for this
 8
     matter and to conduct additional investigation.
 9

10          c.       Counsel for defendants believe that failure to grant the above-requested continuance

11 would deny them the reasonable time necessary for effective preparation, taking into account the

12 exercise of due diligence.

13          d.       The government does not object to the continuance.
14
            e.       Based on the above-stated findings, the ends of justice served by continuing the case
15
     as requested outweigh the interest of the public and the defendant in a trial within the original date
16
     prescribed by the Speedy Trial Act.
17

18          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

19 seq., within which trial must commence, the time period of March 7, 2013 to April 11, 2013
20 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

21
     because it results from a continuance granted by the Court at defendant’s request on the basis of the
22
     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
23
     public and the defendant in a speedy trial.
24
            5.       Nothing in this stipulation and order shall preclude a finding that other provisions of
25
26 the Speedy Trial Act dictate that additional time periods are excludable from the period

27 within which a trial must commence.

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              Case 2:13-cr-00006-MCE Document 84 Filed 03/11/13 Page 3 of 4


     IT IS SO STIPULATED.
1

2 DATED:          March 4, 2013.
3
                                   /s/ Jared C. Dolan___________________
4                                  JARED C. DOLAN
                                   Assistant United States Attorney
5 DATED:          March 4, 2013
6
                                   /s/ Jared Dolan for____________________
7                                  MICHELLE SPAULDING
                                   Counsel for Defendant Jit Kaur
8 DATED:          March 4, 2013
9                                  /s/ Jared Dolan for      _____________
                                   DAVID FISCHER
10                                 Counsel for Defendant Avtar Kaur Bains
     DATED:       March 4, 2013
11

12                                 /s/ Jared Dolan for_____________________
                                   BRUCE LOCKE
13                                 Counsel for Defendant Daljit Kaur Sangha
     DATED:       March 4, 2013
14

15                                 /s/ Jared Dolan for____________________
                                   DAN KOUKOL
16                                 Counsel for Defendant Mo Pegany
     DATED:       March 4, 2013
17
                                   /s/ Jared Dolan for      _____________
18                                 DWIGHT SAMUEL
                                   Counsel for Defendant Balkar Singh
19 DATED:         March 4, 2013
20
                                   /s/ Jared Dolan for_____________________
21                                 MICHAEL BIGELOW
                                   Counsel for Defendant Harvinder Kaur
22 DATED:         March 4, 2013
23
                                   /s/ Jared Dolan for____________________
24                                 MICHAEL HANSEN
                                   Counsel for Defendant Harjinder Kaur Thandi
25
26 DATED:         March 4, 2013
27                                 /s/ Jared Dolan for _____________
                                   A. STANLEY KUBOCHI
28

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                                  Counsel for Defendant Sukhwinder Kaur
1 DATED:          March 4, 2013
2
                                  /s/ Jared Dolan for_____________________
3                                 TONI CARBONE
                                  Counsel for Defendant Darshana Rani
4

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7
                                        ORDER
8
9          IT IS SO ORDERED.
10   Dated: March 8, 2013
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12

13                                         __________________________________________
                                           MORRISON C. ENGLAND, JR., CHIEF JUDGE
14                                         UNITED STATES DISTRICT JUDGE
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